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                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

 _______________________________________
                                        )
 BARCO, INC. and BARCO NV,              )
                                        )
                         Plaintiffs,    )
                                        )                   Case No. 2:23-CV-00521-JRG-RSP
                                        )
 v.                                     )                   JURY TRIAL DEMANDED
                                        )
 YEALINK (USA) NETWORK                  )
 TECHNOLOGY CO., LTD., and              )
 YEALINK NETWORK                        )
 TECHNOLOGY CO., LTD.                   )
                                        )
                         Defendants.    )
 _______________________________________)

      DECLARATION OF ERIK J. HALVERSON IN SUPPORT OF RESPONSE TO
         DEFENDANTS’ DAUBERT MOTION TO EXCLUDE OPINIONS OF
                          WILLIAM B. SCALLY

 I, Erik J. Halverson, hereby declare as follows:

        1.       I am a partner at the law firm of K&L Gates LLP and counsel for Plaintiffs Barco,

 Inc. and Barco NV (collectively, “Plaintiffs”). I have personal knowledge of the facts set forth in

 this Declaration and if called upon as a witness, I could and would testify to such facts under oath.

        2.       Attached as Exhibit A are true and correct excerpts from the April 18, 2025

 deposition of                .

        3.       Attached as Exhibit B are true and correct excerpts from Defendants’ First

 Supplemental and Amended Responses and Objections to Plaintiffs’ Fourth Set of Interrogatories

 (Nos. 17-19).

        4.       Attached as Exhibit C is a true and correct copy of email correspondence between

 counsel for the parties, dated March 18, 2025 through May 2, 2025.



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        5.      Attached as Exhibit D are true and correct excerpts from the April 25, 2025

 deposition of Erwin Six.

        6.      Attached as Exhibit E are true and correct excerpts from the May 23, 2025

 deposition of William B. Scally.



        I declare under penalty of perjury under the laws of the United States of America that the

 foregoing is true and correct.

        Executed on July 1, 2025 in San Francisco, CA.


                                                            /s/ Erik J. Halverson
                                                            Erik J. Halverson




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                                 CERTIFICATE OF SERVICE

        I hereby certify that the foregoing document and accompanying Exhibits were filed

 electronically in compliance with Local Rule CV-5(a) and served via email on all counsel of record

 on July 1, 2025.

                                                             /s/ Erik J. Halverson




                          CERTIFICATE OF AUTHORIZATION TO SEAL

        I hereby certify that pursuant to Local Rule CV-5(a)(7), the foregoing document and

 accompanying Exhibits were filed under seal pursuant to the Court’s Protective Order entered in

 this matter (Dkt. 30).


                                                             /s/ Erik J. Halverson




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